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12
                                 UNITED STATES DISTRICT COURT
13
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                        WESTERN DIVISION
15
16   SATISH SHETTY,                             )      Nos.   2:10-cv-05277-CAS
                                                )             8:10-cv-01559-CAS
17                 Petitioner,                  )             2:10-cv-07836-CAS
                                                )
18                 vs.                          )      ORDERRE: GOVERNMENT’S
                                                )      MOTION TO DISMISS AS MOOT
19   ERIC H. HOLDER, JR. ET AL.                 )
                Respondents.                    )      [28 U.S.C. § 2241]
20                                              )      Honorable Christina A. Snyder
21                                      [PROPOSED] ORDER
                                 MOTION TO DISMISS AS MOOT
22            Having read the papers in support of the motion, IT IS HEREBY ORDERED that
23   Respondents’ Motion to Dismiss is GRANTED. Judgment is entered in favor of Respondents.
24   Petitioner’s three habeas petitions are DISMISSED without Prejudice.
25          DATED: June 30, 2011
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27                                              Christina A. Snyder
                                                UNITED STATES DISTRICT JUDGE
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